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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-00537-JMC
RYAN SAMSEL, et al.,

   Defendants.


                 GOVERNMENT’S REPORT PURSUANT TO THE COURT’S
                        MINUTE ORDER OF JUNE 3, 2022

        The United States of America respectfully provides the following report pursuant to this

Court’s Minute Order of June 3, 2022:

        On June 14, 2022, at 4:51 p.m., Bureau of Prisons (BOP) Regional Counsel informed the

undersigned that the BOP had requested its contract medical scheduler to expedite the defendant’s

appointment and the BOP is still waiting for the appointment date.

        Additionally, and to avoid repetition, the United States incorporates by reference the

information in Paragraphs 2-11 of its Second Motion To Extend Deadline For Evaluation, ECF

171:2-4, which described the status of efforts to arrange for the defendant’s evaluation through

June 10, 2022.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052

                                     By:     s/Karen Rochlin
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